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                                   8                                  UNITED STATES DISTRICT COURT

                                   9
                                                                     NORTHERN DISTRICT OF CALIFORNIA
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                                  12    AMERICAN FEDERATION OF
Northern District of California




                                        GOVERNMENT EMPLOYEES, AFL-CIO,
 United States District Court




                                  13    et al.,                                               No. C 25-01780 WHA

                                  14                   Plaintiffs,

                                  15             v.                                           ORDER TO SHOW CAUSE
                                  16    UNITED STATES OFFICE OF
                                        PERSONNEL MANAGEMENT, et al.,
                                  17
                                                       Defendants.
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                                  19

                                  20          The temporary restraining order denied relief to the public-sector union plaintiffs,

                                  21    explaining that the district court likely lacked subject-matter jurisdiction to hear their claims

                                  22    (see TRO Mem. 11–13). The preliminary injunction order repeated that result, while noting

                                  23    that the Court would reconsider the issue in light of further briefing and facts (see PI

                                  24    Mem. 12). Based on that further briefing, today’s order concluded that the district court has

                                  25    subject-matter jurisdiction to hear the public-sector union plaintiffs’ claims.

                                  26          Parties are therefore ORDERED TO SHOW CAUSE why the relief extended to the

                                  27    organizational plaintiffs (or more, or less) should not be extended to the public-sector union

                                  28    plaintiffs.
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                                   1         Simultaneous responses are due by FRIDAY, MARCH 28, 2025. Replies are due by

                                   2    APRIL 4. Argument will be heard in person on WEDNESDAY, APRIL 9 AT 8 AM.

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                                   4        IT IS SO ORDERED.

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                                   6    Dated: March 24, 2025.

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                                   9                                                     UNITED STATES DISTRICT JUDGE
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Northern District of California
 United States District Court




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